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      In The United States Court of Federal Claims
                                            No. 13-1003C

                                      (Filed: December 20, 2013)
                                              __________

 VRHABILIS, LLC,

                         Plaintiff,

        v.

 THE UNITED STATES,

                         Defendant.
                                             __________

                                              ORDER
                                             __________

       Today, a telephonic status conference was held in this case. Participating for plaintiff
was James Graham, and for defendant was Scott Slater. As discussed during the status
conference, the court hereby adopts the following schedule:

       1.       On or before January 3, 2014, defendant shall file, on CD-ROM, the
                administrative record, and shall effectuate service to all parties;

       2.       On or before January 20, 2014, plaintiff shall file its motion for judgment
                on the administrative record;

       3.       On or before February 7, 2014, defendant shall file its response to
                plaintiff’s motion and its cross-motion for judgment on the administrative
                record;

       4.       On or before February 21, 2014, plaintiff shall file its reply to defendant’s
                response and its response to defendant’s cross-motion for judgment on the
                administrative record;

       5.       On or before March 3, 2014, defendant shall file its reply to plaintiff’s
                response;

       6.       Oral argument on plaintiff’s motion and defendant’s cross-motion will be
                held on March 7, 2014; and
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7.       Defendant shall not be required to file a response to the complaint in this
         matter.

IT IS SO ORDERED.


                                               s/ Francis M. Allegra
                                               Francis M. Allegra
                                               Judge




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